                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

 In re:                                                                Chapter 11

 AMYRIS, INC.,                                                         Case No. 23-11131 (TMH)

                                     Debtors.1                         (Jointly Administered)

                                                                       Docket Ref. No. 1170


               DECLARATION OF OKSANA WRIGHT IN SUPPORT OF
          CONFIRMATION OF THIRD AMENDED JOINT CHAPTER 11 PLAN OF
          REORGANIZATION OF AMYRIS, INC. AND ITS AFFILIATED DEBTORS
                UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

          I, Oksana Wright, pursuant to section 1726 of title 28 of the United States Code, hereby

declare that the following is true to the best of my knowledge, information, and belief:

          1.        I am currently employed as the Chief Compliance Officer at Amyris, Inc.

(“Amyris”), one of the above-captioned debtors and debtors in possession (the “Debtors”). I

submit this declaration in support of confirmation of the Third Amended Joint Chapter 11 Plan of

Reorganization of Amyris, Inc. and Its Affiliated Debtors Under Chapter 11 of the Bankruptcy

Code (as modified, amended, or supplemented from time to time, the “Plan”).2 I have personal

knowledge of the facts set forth herein, and, if called as a witness, I could and would competently

testify to the matters stated herein.

          2.        In addition to any common law or statutory contribution claims they may have, the

Debtors’ current and former directors have rights of indemnification and reimbursement against

the Debtors and Reorganized Amyris pursuant to Article VI of the Amended and Restated Bylaws,


1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal place of
business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100, Emeryville, CA
94608.
2
  Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan.


4880-5369-2575.3 03703.004
dated November 17, 2022 (the “Bylaws”) and any separate indemnification agreement (an

“Indemnification Agreement”) between such current and former directors and the Debtors. A copy

of the Bylaws may be found at the following link:

https://www.sec.gov/Archives/edgar/data/1365916/000136591622000150/a112222xex31amende
dandrest.htm.

A copy of the form Indemnification Agreement between the Debtors and their directors may be

found at the following link:

https://www.sec.gov/Archives/edgar/data/1365916/000119312510144333/dex1001.htm.

Specifically, and without limitation, as a matter of practice, the Debtors enter into an

Indemnification Agreement with each new director and officer during the onboarding process and

the Debtors’ records reflect that the Debtors have entered into Indemnification Agreements with

each of the Debtors’ current directors (Geoffrey Duyk, Steven Mills, John Doerr, Julie

Washington, Ryan Panchadsaram, Ana Dutra, Lisa Qi, James McCann, Frank Kung, M. Freddie

Reiss, and Scott White) and current and former officers (including Han Kieftenbeld, John Melo,

Eduardo Alvarez, Nicole Kelsey, and Elizabeth Dreyer).

          3.        Pursuant to Section 6.3 of each of the Foris Loan Agreements, the parties thereto

have contractual indemnity rights against the Debtors. The “Foris Loan Agreements” are,

collectively, (i) Amended and Restated Loan and Security Agreement dated as of October 28,

2019; (ii) Foris Amended and Restated Loan and Security Agreement dated as of September 27,

2022; (iii) Loan and Security Agreement, dated as of March 10, 2023; (iv) Loan and Security

Agreement dated as of June 5, 2023; (v) Loan and Security Agreement dated as of June 29, 2023;

and (vi) Muirisc Loan and Security Agreement dated August 2, 2023. True and correct copies of

each of the Foris Loan Agreements are attached hereto as Exhibit A-1 through Exhibit A-6.




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4880-5369-2575.3 03703.004
Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.



Dated: January 22, 2024                    /s/ Oksana Wright
                                           Oksana Wright




                                                  3
4880-5369-2575.3 03703.004
